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1     ROBERT W. FERGUSON
      Attorney General
2     NOAH GUZZO PURCELL, WSBA #43492
      Solicitor General
3     KRISTIN BENESKI, WSBA #45478
      First Assistant Attorney General
4     COLLEEN M. MELODY, WSBA #42275
      Civil Rights Division Chief
5     ANDREW R.W. HUGHES, WSBA #49515
      LAURYN K. FRAAS, WSBA #53238
6     Assistant Attorneys General
      TERA M. HEINTZ, WSBA #54921
7     Deputy Solicitor General
      800 Fifth Avenue, Suite 2000
8     Seattle, WA 98104-3188
      (206) 464-7744
9
10                    UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WASHINGTON
11
      STATE OF WASHINGTON, et al.,                 NO. 1:23-cv-03026-TOR
12
                          Plaintiffs,              PLAINTIFF STATES’ REPLY IN
13                                                 SUPPORT OF MOTION FOR
          v.                                       PRELIMINARY INJUNCTION
14
      UNITED STATES FOOD AND                       03/28/2023
15    DRUG ADMINISTRATION, et al.,                 With Oral Argument: 8:30 a.m.
                                                   Spokane Courtroom 902
16                        Defendants.

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      PLAINTIFF STATES’ REPLY IN                                   Complex Litigation Division
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                                                                                   ATTORNEY GENERAL OF WASHINGTON
      PLAINTIFF STATES’ REPLY IN                                   i                    Complex Litigation Division
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1                                 I.     INTRODUCTION

2           FDA’s response brief, like its decision to continue imposing REMS on

3     mifepristone, ignores the facts and the law. Correcting those errors makes clear

4     that the REMS are unlawful and should immediately be enjoined.

5           FDA first claims that the Plaintiff States cannot sue because they failed to

6     exhaust administrative remedies, but the Plaintiff States and many others have

7     repeatedly asked FDA to eliminate the mifepristone REMS, and FDA has serially

8     refused. These claims are amply exhausted.

9           FDA next asserts that the States can show no irreparable harm from the

10    REMS and no standing, but this ignores the well-documented financial costs

11    States are incurring to comply, and the irrefutable harms the REMS impose on

12    patients and State providers. Astonishingly, FDA’s brief never mentions Dobbs,

13    which allowed states to criminalize abortion, led to an influx of out-of-state

14    patients coming to the Plaintiff States for care, and created grave new legal risks

15    for abortion patients and providers—risks that the REMS exacerbate. The States

16    and Court cannot ignore these harms, even if FDA might rather.

17          Finally, FDA claims that the REMS is lawful because FDA lacks evidence

18    that mifepristone is safe without the REMS. But this ignores the scientific

19    evidence and the legal standard FDA must apply. FDA imposes no similar

20    restrictions on vastly more dangerous drugs, or even on a higher dose of

21    mifepristone not used for abortion. The agency’s actions are unlawful and

22    arbitrary, and the States have satisfied the standard for preliminary relief.

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1                                   II.    ARGUMENT

2     A.    The Plaintiff States Are Likely to Succeed on the Merits
3           1.     This challenge is ripe for judicial review
4           The States’ arguments that the mifepristone REMS is unsound,

5     unsupported, and harmful have been serially raised to, and rejected by, FDA.

6     These issues have been amply exhausted, and further petitioning would be futile.

7           The evidence demonstrating exhaustion is overwhelming. Most recently,

8     the 2022 citizen petition submitted by ACOG and dozens of other medical

9     professional and healthcare access organizations asked FDA to eliminate the

10    REMS as medically unnecessary and unduly burdensome for all uses of the

11    drug—not just miscarriage management. See Hughes Decl. Ex. A at 12–17;

12    contra Resp. at 17. The petition made the same arguments the Plaintiff States

13    make here, including citing the Canadian study and other evidence FDA now

14    claims is “new.” Hughes Decl. Ex. A at 17; ECF No. 35 ¶¶ 141 n.62, 143 n.66

15    (listing studies cited by ACOG petition); contra Resp. at 14, 25. Glaringly

16    missing from FDA’s argument is any suggestion that it would have reached a

17    different decision if the States had joined ACOG’s petition. And FDA cites no

18    authority for the proposition that “plaintiffs in this case” must submit a new

19    petition on the exact same subject. Resp. at 17. Its regulation instead requires the

20    claims to “be the subject” of a petition. 21 C.F.R. § 10.45(b).1

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             Regardless, ACOG’s membership includes over 90% of the nation’s

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1           The same issues were also raised repeatedly prior to 2022. FDA performed

2     a “full review” of the REMS in 2021 after being sued in federal court in Hawaii.

3     ECF No. 51-4 at 6. The 2021 review, prompted by litigation where FDA did not

4     even raise exhaustion, covered all the same points: the REMS, while medically

5     useless, trigger unnecessary costs and erect significant obstacles to patient care.

6     See Hughes Decl. Exs. B, C. Similarly, as FDA acknowledges (Resp. at 15–16),

7     fifteen Plaintiff States asked the FDA in 2020 to eliminate the REMS, identifying

8     the patient agreement and certification requirements as “onerous and medically

9     unnecessary”—but received only a form response. Hughes Decl. Ex. D at 2–3;

10    ECF No. 51-11. The States’ letter there was part of a chorus of contemporaneous

11    letters and litigation urging FDA to abandon the REMS, just as the States urge

12    here. See, e.g., ECF Nos. 1-9, 1-10, 1-12; Hughes Decl. Exs. B–M; Am. Coll. of

13    Obstetricians & Gynecologists v. FDA, 472 F. Supp. 3d 183 (D. Md. 2020).

14          These recent appeals to FDA occurred against the backdrop of the agency’s

15    2016, full-scope review of the REMS (ECF No. 1-3), in which FDA ignored or

16    minimized the absence of evidence supporting the REMS, failed to consider

17    evidence of the burdens they impose in practice, and departed from its own

18    internal experts’ recommendation (as the 2022 citizen petition pointed out).

19    Hughes Decl. Ex. A; ECF No. 35 ¶¶ 93–102; ECF No. 1-11 at 25 (unanimous

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21    OBGYNs, including several state-employee declarants in this case. Colwill Decl.
22    Ex. A; Nichols Decl. Ex. A; Prager Decl. Ex. A.

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1     conclusion of CDER clinical team). The 2016 review squarely considered the

2     same issues the States raise here, which were also presented earlier in 2016 and

3     twice in 2015. Schreiber Decl. ¶ 43; ECF No. 1-9; Hughes Decl. Exs. E, F; ECF

4     1-10 at 27. Simply put, if this record does not satisfy exhaustion, nothing does.

5           This record also demonstrates why raising the same issues yet again would

6     be futile, distinguishing this case from those on which FDA relies. Resp. at 15;

7     see El Rescate Legal Servs., Inc. v. EOIR, 959 F.2d 742, 747 (9th Cir. 1991)

8     (“[T]here is no requirement of exhaustion where resort to the agency would be

9     futile.”); McCarthy v. Madigan, 503 U.S. 140, 146, 148–49 (1992) (futility

10    “weigh[s] heavily against requiring administrative exhaustion”). Here, it is clear

11    that FDA’s position is “already set[.]” El Rescate, 959 F.2d at 747. On this point,

12    FDA asserts only that its form response to the States’ 2020 letter did not, standing

13    alone, demonstrate futility. Resp. at 16 n.3. But this ignores FDA’s rejection of

14    successive requests to eliminate the REMS—even from its own internal experts.

15          FDA claims this case involves “technical and factual assertions” that it has

16    had no opportunity to consider. Resp. at 14. This is wrong, as all three of FDA’s

17    examples demonstrate. First, FDA complains about “studies that were not before

18    the agency at the time of” its December 2021 review. Id. at 14, 25. But as noted

19    above, FDA was able to consider these studies for purposes of the 2023 REMS,

20    because ACOG cited them in its 2022 petition. FDA “cannot credibly argue” that

21    another “formal application” from the States with identical information would

22    make any difference. Chinook Indian Nation v. Zinke, 326 F. Supp. 3d 1128, 1144

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1     (W.D. Wash. 2018). Second, FDA claims this lawsuit newly raises “safety

2     comparisons of mifepristone to other drugs[.]” Resp. at 14. But during its 2021

3     “full review” of the REMS, FDA considered information about comparator

4     drugs. ECF No. 51-5 at 7; Hughes Decl. Ex. B at 3. The States raised the same

5     issues in their 2020 letter to FDA. Id. Ex. D at 3 (noting mifepristone “is four

6     times safer than Viagra and fourteen times safer than carrying a pregnancy to

7     term”). Third, FDA claims this lawsuit newly raises “unique burdens” arising

8     from the REMS. Resp. at 14. But the mifepristone REMS have been unique since

9     the day they were implemented—no other drug has anything remotely like

10    them—and this point has been made ad nauseam to FDA. See, e.g., Hughes Decl.

11    Ex. C at 41–42, 65–75, 86–87; id. Ex. A at 12–17; ECF No. 35 ¶¶ 96–98.

12          Finally, under well-established case law, exhaustion is not required in light

13    of the irreparable harm caused by the REMS amid an ongoing crisis of access to

14    reproductive health care. Mot. at 29–33; see Bd. of Trs. of Constr. Laborers’

15    Pension Tr. for S. Cal. v. M.M. Sundt Constr. Co., 37 F.3d 1419, 1421 (9th Cir.

16    1994) (exhaustion excused where necessary to avoid irreparable harm).

17          2.     The States have established standing
18          None of FDA’s generalized objections to the States’ standing erases the

19    clear harms the States are suffering and will suffer absent an injunction. In terms

20    of costs, while not disputing that procedural abortions and pregnancy care are

21    costlier than medication abortions, FDA argues the States “provide no evidence”

22    that the REMS causes increased numbers of surgical abortions. Resp. at 18–19.

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1     But the States’ evidence shows just that. The REMS reduces the number of

2     providers of medication abortion, which delays treatment and makes some

3     patients ineligible for medication abortion altogether. Mot. at 10–11 (citing

4     multiple declarations and evidence incorporated into the complaint). This lack of

5     timely access to medication abortion forces some patients to choose either

6     procedural abortions or carrying unwanted pregnancies to term. Id. at 12–13, 27;

7     Nelson Decl. ¶ 13. This “causal chain” has exactly two links—hardly the sort of

8     leap that renders Plaintiffs’ harms speculative. Wash. Env’t Council v. Bellon,

9     732 F.3d 1131, 1141–42 (9th Cir. 2013) (citing cases); see also City & Cnty. of

10    San Francisco v. U.S. Citizenship & Immigr. Servs., 981 F.3d 742, 754 (9th Cir.

11    2020) (finding alleged financial harm to states resulting from federal rule were

12    not speculative); see also infra II.B (discussing growth in abortion demand in the

13    Plaintiff States following the Dobbs decision).

14          Nor are the REMS like the “tax policy” at issue in Simon v. E. Ky. Welfare

15    Rts. Org., 426 U.S. 26, 42–43 (1976). They are very real restrictions that directly

16    restrict providers and pharmacists—including the multiple declarants who

17    practice as state employees—from prescribing and dispensing mifepristone as

18    they do other medications. See ECF No. 4-1: Decls. of Colwill, DasGupta,

19    Godfrey, Henry, Hedenstrom, Schwartzkopf, Nichols, Prager, Shih. These

20    restrictions particularly impact patients in rural areas, causing some pregnant

21    patients in the Plaintiff States to “miss the very limited window in which to have

22    a safe and effective medication abortion,” resulting in increased costs to the

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1     States. Godfrey Decl. ¶¶ 31–32. Because the REMS apply directly to State

2     employees, and “inflict[] a financial burden on the states” through their impacts

3     on patients, the States have standing. See, e.g., California v. Azar, 911 F.3d 558,

4     571 (9th Cir. 2018) (states’ allegation of economic harm sufficient to support

5     standing to challenge rule related to contraception coverage); New York v. U.S.

6     Dep’t of Agric., 454 F. Supp. 3d 297, 310 (S.D.N.Y. 2020) (states’ allegation of

7     increased healthcare costs was sufficient injury for standing).

8           What is more, as the operators of facilities that prescribe and dispense

9     mifepristone, the States submitted evidence detailing how implementing the 2023

10    REMS has been a significant (and costly) undertaking. See Mot. at 30. FDA does

11    not dispute that such harm is sufficient to confer standing, but instead argues that

12    some of the steps necessary to implement the REMS “do not reflect burdens

13    imposed by the REMS itself.” Resp. at 19. This argument reflects FDA’s total

14    unwillingness to contend with the way the REMS operates in the real world. FDA

15    argues, for instance, that changes to and testing of information technology (IT)

16    systems is not a REMS requirement. Id. at 19–20. But of course it is. In a time of

17    electronic patient and medication records, state medical institutions and

18    pharmacies must obviously undertake IT work to implement and ensure

19    compliance with the REMS; indeed, FDA has pointed to telehealth as a reason

20    why the REMS is supposedly not burdensome. ECF No. 51-4 at 38, note w.

21    FDA’s failure to so much as consider or account for IT burdens does not mean

22    that they do not exist. And even if IT work were not necessary to comply, FDA

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1     does not dispute that the numerous other burdensome tasks being undertaken by

2     state institutions—including identifying providers who would like to become

3     REMS-certified; ensuring provider certifications are completed and provided to

4     certified pharmacies; developing secure systems to store lists of certified

5     prescribers; and training pharmacy staff on REMS requirements—are necessary

6     to comply. See, e.g., ECF No. 4-1: Prager Decl. ¶¶ 32–37; Shih Decl. ¶¶ 15–19;

7     Reed Decl. ¶¶ 3–17; Godfrey Decl. ¶¶ 34–35; DasGupta Decl. ¶¶ 15–18. These

8     expensive burdens establish standing.

9           FDA further argues that the States lack parens patriae standing because, it

10    claims, only the United States acts as parens vis-à-vis individuals’ relations with

11    the federal government. But this court has rejected such a “blanket prohibition.”

12    Washington v. U.S. Dep’t of Homeland Sec., 598 F. Supp. 3d 1051, 1061 (E.D.

13    Wash. 2020). This is particularly true when state residents’ health is involved.

14    See New York v. Biden, ---F.3d---, 2022 WL 5241880, at *7 (D.D.C. Oct. 6, 2022)

15    (rejecting argument that states cannot bring parens claims against federal

16    government where state jurisdictions’ public health was at issue).

17          Lastly, FDA argues that a preliminary injunction would not redress the

18    States’ injuries because the 2023 REMS is less restrictive than prior REMS. Resp.

19    20–21. But the Plaintiff States seek to enjoin the application of any REMS, such

20    that mifepristone can be prescribed just like the 20,000+ other drugs that don’t

21    have one. Because an injunction “could reduce or eliminate those regulatory

22    restrictions, causation and redressability are satisfied.” Barnum Timber Co. v.

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1     U.S. E.P.A., 633 F.3d 894, 901 (9th Cir. 2011).

2           3.     The 2023 REMS is contrary to the REMS statute
3           FDA begins with the premise that it is owed near-total deference, but no

4     deference is owed when the agency violates its governing statute and fails to meet

5     the standards Congress prescribed. The FDCA authorizes ETASU only when

6     they are “commensurate with” a “specific serious risk” such as “death” or

7     “hospitalization.” 21 U.S.C. §§ 355-1(f)(2)(A), (f)(1)(A), (b)(4)(A). FDA may

8     implement ETASU only for drugs so “inherent[ly] toxic[] or potential[ly]

9     harmful[]” that—as a medical or scientific matter—FDA otherwise could not

10    approve them. Id. (f)(1). FDA does not even cite this statutory language in its

11    brief, and certainly makes no effort to meet it. Nor could it, when all the data

12    shows that mifepristone is among the safest drugs in the world, and safer than the

13    vast majority of drugs for which FDA has never attempted to impose a REMS.

14          FDA’s response—that it “has found mifepristone to be safe with the REMS

15    requirements” (Resp. at 24)—is a tautology. A safe drug without REMS will

16    always be a safe drug with REMS. A safe drug is a safe drug. FDA cannot rely

17    on the REMS to prove the REMS is necessary. And FDA cannot credibly claim

18    a REMS is justified for mifepristone when it has approved a higher dose of the

19    same drug—Korlym—without a REMS. FDA’s response that Korlym is used to

20    treat a different condition (Resp. at 24–25) only proves Plaintiffs’ point. The

21    ETASU provisions require “inherent toxicity or potential harmfulness” of a

22    “drug” itself. 21 U.S.C. § 355-1(f)(1). FDA may not apply a heightened standard

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1     when a drug is used for abortion, but not other purposes. Cf. Bracco Diagnostics,

2     Inc. v. Shalala, 963 F. Supp. 20, 28 (D.D.C. 1997) (“The disparate treatment of

3     functionally indistinguishable products is the essence of the meaning of arbitrary

4     and capricious.”); Tummino v. Hamburg, 936 F. Supp. 2d 162, 169 (E.D.N.Y.

5     2013) (“The standards are the same for aspirin and for contraceptives.”). Because

6     mifepristone does not meet the requirements of the REMS statute, the 2023

7     REMS is invalid as a matter of law.

8           4.     The 2023 REMS is blatantly arbitrary and capricious
9           All agencies—including FDA—must engage in “reasoned decision-

10    making.” Cigar Ass’n of Am. v. FDA, No. 16-cv-01460 (APM), 2022 WL

11    2438512, at *7 (D.D.C. Jul. 5, 2022). Courts have overruled FDA’s actions when

12    the agency has, for example, failed to consider relevant evidence, id.; held

13    comparable drugs to different standards, Braeburn Inc. v. FDA, 389 F. Supp. 3d

14    1, 28–32 (D.D.C. 2019); failed to consider statutory requirements or how a drug

15    would likely be used in the real world, Bayer HealthCare, LLC v. FDA, 942 F.

16    Supp. 2d 17, 24–25 (D.D.C. 2013); or imposed restrictions that were

17    “unnecessary” based on the evidence before the agency, ACOG, 472 F. Supp. 3d

18    at 223 (quotation omitted).

19          All of those things happened here. Most glaringly, the 2021 review that

20    FDA holds up as evidence of its expertise does not mention—even once—the

21    statutory requirement that a REMS only be imposed for medications associated

22    with a “serious adverse drug experience” like hospitalization or death. 21 U.S.C.

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1     § 355-1(f)(1)(A). Nor does FDA ever once consider the REMS’ impacts on

2     “patients in rural or medically underserved areas,” even though it is statutorily

3     required to do so. Id. §§ 355-1(f)(2)(C)–(D). Indeed, FDA expressly “excluded”

4     from its consideration “the logistics of accessing abortion care,” including “time

5     to appointment or the distance traveled to obtain care.” ECF No. 51-4 at 12–13.

6     “[B]ecause the agency neglected to consider [these] statutorily mandated

7     factor[s],” and provided no evidence-backed analysis, its decision was arbitrary

8     and capricious. Pub. Citizen v. Fed. Motor Carrier Safety Admin., 374 F.3d 1209,

9     1216 (D.C. Cir. 2004).

10          FDA also disregarded evidence that undermines the REMS. See, e.g., ECF

11    No. 51-4 at 22 (dismissing, without discussion, evidence finding “no adverse

12    events” from dispensing by “non-certified healthcare providers”); ECF No. 35

13    ¶¶ 143–44 (FDA summarily dismissed Canadian study showing no increase in

14    adverse events after removal of REMS-like restrictions). “Where, as here, an

15    agency speaks in absolute terms that there is no evidence, it acts arbitrarily and

16    capriciously when there is in fact pertinent record evidence and the agency

17    ignores or overlooks it.” Cigar Ass’n of Am., 2022 WL 2438512, at *7.

18          FDA also ignored evidence about why mifepristone is safe. Its safety is

19    inherent in the drug itself, not because of the REMS:

20          Mifepristone’s chemical structure itself supports the conclusion that
            mifepristone is extremely safe. It is chemically similar to
21          norethindrone, which was the original progestin formulation used in
            early oral contraceptive pills and which is still widely used today.
22          Because it is so similar in structure to a widely used progestin,

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1           mifepristone is unlikely to be toxic to patients.

2     Schreiber Decl. ¶ 22. FDA knows mifepristone is fundamentally safe without a

3     REMS: it approved Korlym without one. But when it came to mifepristone for

4     abortion, FDA not only failed to consider evidence of its inherent safety, it

5     expressly “excluded” such evidence from its review. ECF No. 51-4 at 12–13

6     (FDA’s analysis “excluded . . . [i]nformation pertinent to molecular or other

7     basic science aspects of mifepristone”).

8           Lastly, FDA wholly failed to consider the patient harms caused by the

9     REMS. See Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.

10    Co., 463 U.S. 29, 43 (1983) (agency action is “arbitrary and capricious if the

11    agency . . . entirely failed to consider an important aspect of the problem”). There

12    is, for example, no discussion whatsoever in FDA’s 2021 memo about the REMS

13    reducing medication abortion’s availability or deterring providers. Rather, the

14    memo makes clear that FDA decided to disregard studies showing the REMS

15    acts as a barrier to patient care. ECF No. 51-4 at 12 (noting that FDA’s analysis

16    “excluded” . . . “[i]nformation from survey studies or qualitative studies that

17    evaluated perspectives on and/or satisfaction with medical abortion procedures

18    from patients, pharmacists, clinic staff, or providers, even if the study assessed

19    REMS ETASUs”). Indeed, FDA explicitly excluded one of the studies it now

20    faults the States for not bringing to its attention via a citizen petition. Id. at 49

21    (noting that FDA disregarded Calloway D et al. Contraception 2021; 104(1): 24–

22    28 because it “[p]rimarily addresses provider stigma around abortion care”).

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1           FDA cannot cherry-pick evidence to justify singling out an extremely safe

2     drug for disfavored treatment. Its decision to do so was arbitrary and capricious.

3     B.    The Plaintiff States Are Irreparably Harmed
4           FDA does not provide a single witness declaration in support of its

5     response, and offers no rebuttal to the hundreds of pages of declarations attesting

6     to the harms suffered by the States and their residents as a result of the 2023

7     REMS, see Mot. at 26–31. Instead, FDA argues that the States should have

8     challenged an earlier version of the REMS. Resp. at 27.

9           This argument completely ignores the unprecedented crisis in abortion

10    access following Dobbs. The harms caused by the 2023 REMS must be analyzed

11    in this context, which Defendant Becerra himself described as “a moment of

12    crisis in health care.” Hughes Decl. Ex. G. Since Dobbs, the States have

13    experienced a tidal wave of out-of-state patients seeking abortions. ECF No. 4-1:

14    Cantrell Decl. ¶¶ 5, 7; Dillon Decl. ¶¶ 8–13; see also Nelson Decl. ¶ 10. For

15    example, in January 2023, Planned Parenthood of Greater Washington and

16    Northern Idaho saw a 75% increase in Idaho patients, compared with January

17    2022, including a “90% increase for medication abortion visits from Idaho.”

18    Dillon Decl. ¶ 10 (emphasis added). This increased patient volume has led to

19    delays in abortion care and other consequences, including higher risks of

20    complications, increased costs, and unnecessary trauma and stress for patients, as

21    well as increasing burdens on an already overtaxed healthcare system. Id. ¶¶ 14–

22    22; Godfrey Decl. ¶¶ 28, 31. FDA concedes all of this. [FDA’s] Opp’n to Pls.’

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      PLAINTIFF STATES’ REPLY IN                  13               Complex Litigation Division
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1     Mot. for Prelim. Inj., All. for Hippocratic Med. v. FDA, No. 2:22-cv-00223-Z

2     (N.D. Tex. Jan. 13, 2023), ECF No. 28 at 48–49.

3           The 2023 REMS exacerbates these growing harms. On top of the

4     challenges caused by increased patient volumes from anti-abortion states, the

5     REMS restrictions themselves make mifepristone harder to prescribe, dispense,

6     and obtain. ECF No. 4-1: Gold Decl. ¶¶ 15–16, 27; Godfrey Decl. ¶¶ 17–22; Shih

7     Decl. ¶¶ 21–29; Colwill Decl. ¶¶ 18–25; Nichols Decl. ¶ 38; Janiak Decl. ¶¶ 15–

8     20; Downing Decl. ¶¶ 9–16; Henry Decl. ¶¶ 6–8; Lazarus Decl. ¶¶ 17–20; ECF

9     No. 35 ¶¶ 136–138. There are no two ways about it: delayed treatment causes

10    patients to miss the narrow window for medication abortion altogether, resulting

11    in more-expensive procedural abortion or maternity care. Mot. at 24–33; Dillon

12    Decl. ¶¶ 18, 14; Godfrey Decl. ¶ 30; Shih Decl. ¶ 27. All of this imposes

13    unrecoverable costs on the States, an irreparable harm.

14          As FDA also well knows, the post-Dobbs environment is a minefield of

15    risks for abortion patients and providers. As medical expert Marji Gold, M.D.,

16    explains, post-Dobbs legislation in anti-abortion states works in concert with the

17    2023 REMS to limit access to abortion even in the Plaintiff States:

18          In the current hostile environment surrounding abortion care, which
            includes states passing bills that empower ordinary citizens to sue
19          anyone they deem has “aided and abetted” a person seeking an
            abortion, clinicians may be reluctant to become certified and thus be
20          identified as a person who prescribes mifepristone. Since the REMS
            requires certified prescribers to send their signed forms to each
21          certified pharmacy at which they intend to prescribe, clinicians who
            wish to provide this care have reason to be concerned that an anti-
22          abortion staff or pharmacist at a pharmacy might leak the

                                                                ATTORNEY GENERAL OF WASHINGTON
      PLAINTIFF STATES’ REPLY IN                 14                  Complex Litigation Division
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1           confidential list and expose them to possible violence and/or civil or
            criminal liability.
2
      Gold Decl. ¶ 18; see also Prager Decl. ¶¶ 38–40; Shih Decl. ¶¶ 23–25. Effects of
3
      the REMS were vastly different pre-Dobbs, when abortion was a constitutional
4
      right nationwide. But by re-imposing the REMS post-Dobbs, FDA compounded
5
      the very access problems Secretary Becerra committed to ameliorating.
6
            FDA’s argument that the Plaintiff States “delay[ed] in seeking relief” fares
7
      no better. Resp. at 27–29. While some state healthcare institutions began taking
8
      steps prior to January 2023 to prepare for what they expected to be contained in
9
      the forthcoming REMS, Defendants’ public statements post-Dobbs signaled that
10
      they might finally follow the medical science, comply with their statutory
11
      obligation to reduce burdens on access, and get rid of the REMS once and for all.
12
      Secretary Becerra insisted that FDA would take steps to protect mifepristone
13
      access, noting: “Working to increase access to this drug is a national imperative
14
      and in the public interest.” Hughes Decl. Ex. G. It was not until FDA took final
15
      agency action on January 3, 2023, that the States knew the agency had
16
      nevertheless decided to continue to restrict access to mifepristone. Taking seven
17
      weeks to assemble a multi-state coalition and gather evidence following this final
18
      agency action hardly evinces a “lack of urgency,” Resp. at 29—and does nothing
19
      to negate the States’ mountain of evidence demonstrating irreparable harm.
20
      C.    The Public Interest and Equities Favor Enjoining the REMS
21
            The REMS restrict access to abortion at a time when abortion rights are
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1     under unprecedented attack. Tellingly, Defendants are silent on the effect of an

2     injunction on patients. Rather, they rely entirely on self-preservation concerns

3     about the need to “defer[] to FDA’s judgments.” Resp. at 30. But that rationale

4     for deference evaporates here, where FDA has acted contrary to law and abused

5     its discretion by re-imposing arbitrary and unfounded restrictions on medication

6     abortion. The public interest and equities weigh strongly in the States’ favor.

7     D.    Plaintiffs’ Requested Relief Matches the Harm Shown: Eliminating
            Unnecessary Restrictions on Mifepristone in the Plaintiff States
8
            Defendants argue that an injunction prohibiting them from reducing
9
      mifepristone’s availability is “untethered to any actual claim for relief[.]” Resp.
10
      at 31–34. But the States prayed for exactly this relief, ECF No. 35 ¶¶ IX(a), (e),
11
      which is a necessary condition precedent to their request that FDA remove the
12
      REMS so that access to mifepristone can be expanded, id. ¶¶ IX(b)–(d). Both
13
      components of relief are plainly necessary. Given the irreparable harm Plaintiffs
14
      have shown from the REMS, it would a fortiori unleash devastating harm if
15
      Defendants were permitted to restrict mifepristone yet further, for example by re-
16
      implementing previous REMS or withdrawing the drug from the market. Under
17
      these circumstances, the minimum relief Plaintiffs require is an order “freez[ing]
18
      the positions of the parties”—here, mifepristone’s current baseline of availability
19
      in the Plaintiff States—“until the court can hear the case on the merits.” Heckler
20
      v. Lopez, 463 U.S. 1328, 1333 (1983). Such an order can, and should, enjoin
21
      Defendants from “chang[ing] this status quo” until the case concludes. Ariz.
22

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1     Dream Act Coal. v. Brewer, 757 F.3d 1053, 1061 (9th Cir. 2014).2

2           Nor do the Plaintiff States’ requests violate Rule 65(d)’s specificity

3     requirement. “[T]he scope of an injunction or restraining order may be broad but

4     at the same time be drafted in a manner that is not vague . . . There is no inherent

5     inconsistency between the two characteristics.” 11A Charles A. Wright & Arthur

6     R. Miller, Fed. Prac. & Proc. Civ. § 2955 (3d ed. 2022). Here, Plaintiffs request

7     a specific order enjoining Defendants from doing two things: (1) enforcing the

8     2023 REMS, and (2) changing the status quo to make mifepristone less available

9     in the Plaintiff States. Injunctions of similar specificity have been entered against

10    FDA before, and this Court should enter one here. See, e.g., Cook v. FDA, 733

11    F.3d 1, 5 (D.D.C. 2013) (affirming injunction against FDA’s “permitting the

12    entry of, or releasing any future shipments of” drugs used for lethal injection);

13    Bracco Diagnostics, 963 F. Supp. at 31 (“enjoin[ing] the FDA from proceeding

14    with any approval or review proceedings relating to any of plaintiffs’ products”

15    until FDA had responded to citizen review petition).

16                                  III.   CONCLUSION

17          The Plaintiff States’ motion for a preliminary injunction should be granted.

18
19

20          2
             Defendants’ strained hypothetical about contaminated drugs, Resp. at 33–
21    34, is irrelevant. Plaintiffs seek an order preserving the status quo. Contaminated
22    drugs are already illegal under the status quo. 21 U.S.C. §§ 331(a), (c).

                                                                ATTORNEY GENERAL OF WASHINGTON
      PLAINTIFF STATES’ REPLY IN                    17               Complex Litigation Division
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1           DATED this 24th day of March, 2023.

2                                       ROBERT W. FERGUSON
                                        Attorney General
3
                                        /s/ Kristin Beneski
4                                       NOAH GUZZO PURCELL, WSBA #43492
                                        Solicitor General
5                                       KRISTIN BENESKI, WSBA #45478
                                        First Assistant Attorney General
6                                       COLLEEN M. MELODY, WSBA #42275
                                        Civil Rights Division Chief
7                                       ANDREW R.W. HUGHES, WSBA #49515
                                        LAURYN K. FRAAS, WSBA #53238
8                                       Assistant Attorneys General
                                        TERA M. HEINTZ, WSBA #54921
9                                       Deputy Solicitor General
                                        800 Fifth Avenue, Suite 2000
10                                      Seattle, WA 98104-3188
                                        (206) 464-7744
11                                      Attorneys for Plaintiff State of Washington
12
                                        ELLEN F. ROSENBLUM
13                                      Attorney General of Oregon
14                                      /s/ Marc Hull
                                        SANDER MARCUS HULL WSBA #35986
15                                      CARLA A. SCOTT WSBA #39947
                                        Senior Assistant Attorney General
16                                      YOUNGWOO JOH OSB #164105
                                        Assistant Attorney General
17                                      Trial Attorneys
                                        Tel (971) 673-1880
18                                      Fax (971) 673-5000
                                        marcus.hull@doj.state.or.us
19                                      youngwoo.joh@doj.state.or.us
                                        Attorneys for Plaintiff State of Oregon
20

21

22

                                                            ATTORNEY GENERAL OF WASHINGTON
      PLAINTIFF STATES’ REPLY IN                18               Complex Litigation Division
      SUPPORT OF MOTION FOR                                      800 Fifth Avenue, Suite 2000
                                                                   Seattle, WA 98104-3188
      PRELIMINARY INJUNCTION                                            (206) 464-7744
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1                                       KRIS MAYES
                                        Attorney General of Arizona
2
                                        /s/ Daniel C. Barr
3                                       Daniel C. Barr (Arizona No. 010149)
                                        Chief Deputy Attorney General
4                                       Luci D. Davis (Arizona No. 35347)
                                        Assistant Attorney General
5                                       Office of the Attorney General of Arizona
                                        2005 N. Central Ave.
6                                       Phoenix, AZ 85004-1592
                                        Phone: (602) 542-8080
7                                       Email: Daniel.Barr@azag.gov
                                               Luci.Davis@azag.gov
8                                       Attorney for Plaintiff State of Arizona

9                                       PHILIP J. WEISER
                                        Attorney General of Colorado
10
                                        /s/ Eric Olson
11                                      ERIC OLSON, CO #36414
                                        Solicitor General
12                                      MICHAEL MCMASTER, CO #42368
                                        Assistant Solicitor General
13                                      Office of the Attorney General
                                        Colorado Department of Law
14                                      1300 Broadway, 10th Floor
                                        Denver, CO 80203
15                                      Phone: (720) 508-6000
                                        Attorneys for Plaintiff State of Colorado
16
                                        WILLIAM TONG
17                                      Attorney General of Connecticut

18                                      /s/ Joshua Perry
                                        Joshua Perry*
19                                      Solicitor General
                                        Office of the Connecticut Attorney General
20                                      165 Capitol Ave, Hartford, CT 06106
                                        Joshua.perry@ct.gov
21                                      (860) 808-5372
                                        Fax: (860) 808-5387
22                                      Attorney for Plaintiff State of Connecticut

                                                            ATTORNEY GENERAL OF WASHINGTON
      PLAINTIFF STATES’ REPLY IN                19               Complex Litigation Division
      SUPPORT OF MOTION FOR                                      800 Fifth Avenue, Suite 2000
                                                                   Seattle, WA 98104-3188
      PRELIMINARY INJUNCTION                                            (206) 464-7744
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1                                       KATHLEEN JENNINGS
                                        Attorney General of Delaware
2
                                        /s/ Vanessa L. Kassab
3                                       VANESSA L. KASSAB
                                        Deputy Attorney General
4                                       Delaware Department of Justice
                                        820 N. French Street
5                                       Wilmington, DE 19801
                                        302-683-8899
6                                       vanessa.kassab@delaware.gov
                                        Attorney for Plaintiff State of Delaware
7

8                                       KWAME RAOUL
                                        Attorney General of Illinois
9
                                        /s/ Caitlyn G. McEllis
10                                      Caitlyn G. McEllis (6306561)
                                        Senior Policy Counsel
11                                      Office of the Illinois Attorney General
                                        100 West Randolph Street
12                                      Chicago, IL 60601
                                        Phone: (312) 793-2394
13                                      Caitlyn.McEllis@ilag.gov
                                        Attorney for Plaintiff State of Illinois
14

15                                      DANA NESSEL
                                        Attorney General of Michigan
16
                                        /s/ Stephanie M. Service
17                                      Stephanie M. Service (P73305)
                                        Assistant Attorney General
18                                      Michigan Department of Attorney General
                                        Health, Education & Family
19                                      Services Division
                                        P.O. Box 30758
20                                      Lansing, MI 48909
                                        (517) 335-7603
21                                      ServiceS3@michigan.gov
                                        Attorney for Plaintiff Attorney General of
22                                      Michigan

                                                            ATTORNEY GENERAL OF WASHINGTON
      PLAINTIFF STATES’ REPLY IN                20               Complex Litigation Division
      SUPPORT OF MOTION FOR                                      800 Fifth Avenue, Suite 2000
                                                                   Seattle, WA 98104-3188
      PRELIMINARY INJUNCTION                                            (206) 464-7744
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1                                       AARON D. FORD
                                        Attorney General of Nevada
2
                                        /s/ Heidi Parry Stern
3                                       Heidi Parry Stern (Bar. No. 8873)*
                                        Solicitor General
4                                       Office of the Nevada Attorney General
                                        555 E. Washington Ave., Ste. 3900
5                                       Las Vegas, NV 89101
                                        HStern@ag.nv.gov
6                                       Attorney for Plaintiff State of Nevada

7
                                        RAÚL TORREZ
8                                       Attorney General of New Mexico

9                                       /s/ Aletheia Allen
                                        Aletheia Allen
10                                      Solicitor General
                                        New Mexico Office of the Attorney General
11                                      201 Third St. NW, Suite 300
                                        Albuquerque, NM 87102
12                                      AAllen@nmag.gov
                                        Attorney for Plaintiff State of New Mexico
13

14                                      PETER F. NERONHA
                                        Attorney General of Rhode Island
15
                                        /s/ Julia C. Harvey
16                                      JULIA C. HARVEY #10529
                                        Special Assistant Attorney General
17                                      150 S. Main Street
                                        Providence, RI 02903
18                                      (401) 274-4400 x2103
                                        Attorney for Plaintiff State of Rhode Island
19

20

21

22

                                                            ATTORNEY GENERAL OF WASHINGTON
      PLAINTIFF STATES’ REPLY IN                21               Complex Litigation Division
      SUPPORT OF MOTION FOR                                      800 Fifth Avenue, Suite 2000
                                                                   Seattle, WA 98104-3188
      PRELIMINARY INJUNCTION                                            (206) 464-7744
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1                                       CHARITY R. CLARK
                                        Attorney General of Vermont
2
                                        /s/ Eleanor L.P. Spottswood
3                                       ELEANOR L.P. SPOTTSWOOD*
                                        Solicitor General
4                                       109 State Street
                                        Montpelier, VT 05609-1001
5                                       (802)793-1646
                                        eleanor.spottswood@vermont.gov
6                                       Attorney for Plaintiff State of Vermont

7
                                        BRIAN L. SCHWALB
8                                       Attorney General for the District of
                                        Columbia
9                                       JENNIFER C. JONES
                                        Deputy Attorney General
10                                      Public Advocacy Division
                                        WILLIAM STEPHENS
11                                      Counsel to the Deputy

12                                      /s/ Nicole S. Hill
                                        NICOLE S. HILL
13                                      Assistant Attorney General
                                        Office of the Attorney General for the
14                                      District of Columbia
                                        400 Sixth Street, N.W.
15                                      Washington, D.C. 20001
                                        (202) 727-4171
16                                      nicole.hill@dc.gov
                                        Attorney for Plaintiff District of Columbia
17

18                                      ANNE E. LOPEZ
                                        Attorney General
19
                                        /s/ Erin N. Lau
20                                      Erin N. Lau 009887*
                                        465 South King St., Room 200
21                                      Honolulu, Hawaii 96813
                                        Erin.N.Lau@hawaii.gov
22                                      Attorney for Plaintiff State of Hawaii

                                                            ATTORNEY GENERAL OF WASHINGTON
      PLAINTIFF STATES’ REPLY IN                22               Complex Litigation Division
      SUPPORT OF MOTION FOR                                      800 Fifth Avenue, Suite 2000
                                                                   Seattle, WA 98104-3188
      PRELIMINARY INJUNCTION                                            (206) 464-7744
 Case 1:23-cv-03026-TOR   ECF No. 60   filed 03/24/23   PageID.1572 Page 25 of 27




1                                       AARON M. FREY
                                        Attorney General
2
                                        /s/ Halliday Moncure
3                                       Halliday Moncure, Bar No. 4559
                                        Assistant Attorney General
4                                       Office of the Maine Attorney General
                                        6 State House Station
5                                       Augusta, ME 04333-0006
                                        (207) 626-8800
6                                       halliday.moncure@maine.gov
                                        Attorney for Plaintiff State of Maine
7
                                        ANTHONY G. BROWN
8                                       Attorney General of Maryland

9                                       /s/ Steven M. Sullivan
                                        STEVEN M. SULLIVAN*
10                                      Solicitor General
                                        Office of the Attorney General of Maryland
11                                      200 Saint Paul Place, 20th Floor
                                        Baltimore, Maryland 21202
12                                      (410) 576-6427
                                        ssullivan@oag.state.md.us
13                                      Attorney for Plaintiff State of Maryland

14                                      KEITH ELLISON
                                        Attorney General
15                                      State of Minnesota

16                                      /s/ Liz Kramer
                                        LIZ KRAMER (#0325089)
17                                      Solicitor General
                                        JENNIFER OLSON (#0391356)
18                                      Assistant Attorney General
                                        445 Minnesota Street, Suite 1400
19                                      St. Paul, Minnesota 55101-2131
                                        (651) 757-1010 (Voice)
20                                      (651) 282-5832 (Fax)
                                        liz.kramer@ag.state.mn.us
21                                      jennifer.olson@ag.state.mn.us
                                        Attorneys for Plaintiff State of Minnesota
22

                                                             ATTORNEY GENERAL OF WASHINGTON
      PLAINTIFF STATES’ REPLY IN                23                Complex Litigation Division
      SUPPORT OF MOTION FOR                                       800 Fifth Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
      PRELIMINARY INJUNCTION                                             (206) 464-7744
 Case 1:23-cv-03026-TOR   ECF No. 60   filed 03/24/23   PageID.1573 Page 26 of 27




1                                       MICHELLE A. HENRY
                                        Attorney General of Pennsylvania
2
                                        /s/ Jill M. Graziano
3                                       JILL M. GRAZIANO (Pa Bar No. 82725)
                                        Chief Counsel to the Attorney General
4                                       1000 Madison Ave., Ste. 310
                                        Norristown, PA 19403
5                                       jgraziano@attorneygeneral.gov
                                        (484) 460-1330
6                                       Attorney for the Commonwealth of
                                        Pennsylvania
7

8                                       *Applications for pro hac vice admission
                                        forthcoming
9
10

11

12
13

14

15

16

17

18
19

20

21

22

                                                            ATTORNEY GENERAL OF WASHINGTON
      PLAINTIFF STATES’ REPLY IN                24               Complex Litigation Division
      SUPPORT OF MOTION FOR                                      800 Fifth Avenue, Suite 2000
                                                                   Seattle, WA 98104-3188
      PRELIMINARY INJUNCTION                                            (206) 464-7744
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1                              CERTIFICATE OF SERVICE

2           I hereby certify that on March 24, 2023, I electronically filed the foregoing

3     with the Clerk of the Court using the CM/ECF System, which in turn

4     automatically generated a Notice of Electronic Filing (NEF) to all parties in the

5     case who are registered users of the CM/ECF system. The NEF for the foregoing

6     specifically identifies recipients of electronic notice.

7           DATED this 24th day of March 2023, at Seattle, Washington.

8                                              /s/ Kristin Beneski
                                               KRISTIN BENESKI, WSBA #45478
9                                              First Assistant Attorney General
10

11

12
13

14

15

16

17

18
19

20

21

22

                                                                 ATTORNEY GENERAL OF WASHINGTON
      PLAINTIFF STATES’ REPLY IN                    25                Complex Litigation Division
      SUPPORT OF MOTION FOR                                           800 Fifth Avenue, Suite 2000
                                                                        Seattle, WA 98104-3188
      PRELIMINARY INJUNCTION                                                 (206) 464-7744
